          Case 1:18-cr-00834-PAE Document 73 Filed 01/16/19 Page 1 of 5
                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     January 16, 2019

BY ECF

Honorable Paul A. Engelmayer
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Jamel Jones et al., S4 18 Cr. 834 (PAE)

Dear Judge Engelmayer:

       The Government writes pursuant to the Court’s January 11, 2019 Order directing the
Government to set forth its views as to (1) the potential conflict of interest posed by Mr. Leemon
representing Jamel Jones after having represented Kifano Jordan; (2) whether the conflict is
waivable; and (3) the allocution appropriate for Jones and Jordan.

        The Government has conferred with Mr. Leemon, Mr. Roth, and Mr. Einhorn concerning
Mr. Leemon’s representation of Jordan. The Government understands that Mr. Leemon met with
Jordan on November 25, 2018 – the day before the initial pretrial conference – and that Mr.
Leemon and Jordan did not talk substantively about the case. In addition, Mr. Leemon has
represented that he has not downloaded or reviewed any of the individual Rule 16 discovery
pertaining to Jordan. Accordingly, based on the representations of counsel, it does not appear that
Jordan relayed any confidential information to Mr. Leemon. If that is the case, then the
Government does not see any conflict in Mr. Leemon’s representation of Jones.

        However, in the event that Jordan shared any confidential information with Mr. Leemon,
then a potential conflict could exist and an appropriate inquiry should be made. “An attorney has
a potential conflict of interest if ‘the interests of the defendant may place the attorney under
inconsistent duties at some time in the future.’” United States v. Perez, 325 F.3d 115, 125 (2d Cir.
2003) (quoting United States v. Kliti, 156 F.3d 150, 153 n.3 (2d Cir. 1998)). Conflicts “such as
attorney’s representation of two or more defendants or his prior representation of a trial witness,
are generally waivable.” Id. at 127. However, “such a conflict might require a defendant to
abandon a particular defense or line of questioning,” and to “seek the legal advice of independent
counsel and make an informed judgment that balances the alteration in the trial strategy against
the perceived effect of having to get a new and perhaps less effective defense counsel.” Id.
(quoting United States v. Fulton, 5 F.3d 605, 613 (2d Cir. 1993)).
          Case 1:18-cr-00834-PAE Document 73 Filed 01/16/19 Page 2 of 5

                                                                                            Page 2


        Accordingly, the Government respectfully requests that the Court ascertain whether Jones
and Jordan are fully aware that they are entitled to conflict-free representation and of the risks
associated with Mr. Leemon’s representation of Jones. The concern here is that the attorney-client
relationship gives rise to continuing obligations of loyalty and confidentiality that may be breached
when the confidences are required to be exploited in, for example, the possible cross-examination
of Jordan. On the other hand, if prior confidences are respected, the representation of Jones might
be ineffective due, for example, to the inability of counsel to conduct a thorough cross-examination
of Jordan should Jordan testify. However, the Government believes that the potential conflict can
be waived by both Jordan and Jones. Enclosed with this letter is a set of proposed questions to be
put to Jones and Jordan.


                                                      Respectfully submitted,

                                                      GEOFFREY S. BERMAN
                                                      United States Attorney


                                                  by: s/
                                                     Michael D. Longyear
                                                     Jacob Warren
                                                     Assistant United States Attorneys
                                                     (212) 637-2223 / 2264

cc:    All counsel of record (by ECF)
          Case 1:18-cr-00834-PAE Document 73 Filed 01/16/19 Page 3 of 5

                                                                                        Page 3


                              Proposed Curcio Examination
                             United States v. Jamel Jones et al.

A.   Introductory Questions To Establish Competence

     Age

     Education

     Current medications

     Alcohol, drugs, medications within past 24 hours

     Is anything interfering with your ability to understand what is happening here today?

B.   Potential Conflict of Interest Posed by Scott Leemon’s
     Prior Representation of Kifano Jordan

                                        Jamel Jones

     1.      Are you satisfied with the services of Mr. Leemon thus far in the case?

     2.      Has Mr. Leemon informed you that he represented co-defendant Kifano Jordan?

     3.      Do you understand that the fact that Mr. Leemon represented Mr. Jordan and likely
             had conversations with him that are likely covered by attorney-client privilege and
             could lead Mr. Leemon to have loyalties divided between yourself and Mr. Jordan?

     4.      Let me give you some examples of the ways in which Mr. Leemon’s privileged
             conversations with Mr. Jordan could adversely affect his representation of you in
             this case.

             a.     Are you aware that Mr. Leemon could possibly have information from Mr.
                    Jordan that would be helpful in defending you, but that he would be
                    absolutely prohibited from using it to defend you because of the attorney-
                    client privilege?

             b.     Similarly, do you understand that, should this case proceed to trial, and Mr.
                    Jordan were to testify, Mr. Leemon may have information to cross examine
                    Mr. Jordan and would be prohibited from using it because it is protected by
                    the attorney-client privilege?

     5.      Tell me in your own words what your understanding is of the potential conflicts of
             interest arising in this situation.
          Case 1:18-cr-00834-PAE Document 73 Filed 01/16/19 Page 4 of 5

                                                                                           Page 4


     6.      Do you understand that one danger to you is in the inability to foresee all of the
             possible conflicts that might arise because of Mr. Leemon’s prior privileged
             conversations with Mr. Jordan and his current representation of you?

                                        Kifano Jordan

     7.      Do you understand that the fact that Mr. Leemon represented you and likely had
             conversations with you that are likely covered by attorney-client privilege, which
             could lead to divided loyalty by Mr. Leemon as between you and Mr. Jones?

     8.      Do you understand that if this case were to proceed to trial and you testified at
             trial, Mr. Leemon could cross examine you, and in the process, potentially exploit
             confidences he learned from you during his representation of you?

     9.      Tell me in your own words what your understanding is of the potential conflicts
             of interest arising in this situation.

C.   The Right to Conflict-Free Representation

     10.     Do you understand that, in every criminal case, including this one, the defendant is
             entitled to assistance of counsel whose loyalty to him is undivided, who is not
             subject to any factor that might in any way intrude upon an attorney’s loyalty to his
             interests? In other words, do you understand that you are entitled to an attorney
             who has only your interests in mind, and not the interests of any other client?

     11.     Have you received any inducements, promises or threats with regard to your choice
             of counsel in this case?

     12.     Have you consulted with any attorneys other than Mr. Leemon about the dangers
             to you of this potential conflict of interest?

     13.     Do you understand that you have a right to consult with an attorney free from any
             conflict of interest about this issue, and that the Court will give you an opportunity
             to do that if there is any aspect of the information that I have conveyed to you today
             that you wish to discuss with a conflict-free attorney?

     14.     The Court is prepared to adjourn the remainder of this proceeding so that you may
             consult with an attorney about the potential conflict of interest that I have described
             to you today. In addition, the Court can appoint an attorney for you to consult on
             this matter if you cannot afford one. Would you prefer to adjourn until you can
             give more thought to this matter?
       Case 1:18-cr-00834-PAE Document 73 Filed 01/16/19 Page 5 of 5

                                                                                         Page 5


D.   Continuation of Curcio Hearing

     15.   [For Jones] After considering all that I have said today about the ways in which Mr.
           Leemon’s prior representation of Mr. Jordan may adversely affect your defense, do
           you believe that it is in your best interest to continue with him as your attorney? Is
           that your wish?

     16.   [For Jones] Do you understand that by choosing to continue with Mr. Leemon as
           your attorney, you are waiving your right to be represented solely by an attorney
           who has no conflict of interest?

     17.   [Both] Are you knowingly and voluntarily waiving your right to conflict-free
           representation?

     18.   [Both] Do you agree to waive any post-conviction argument, on appeal or
           otherwise, that by virtue of Mr. Leemon’s prior representation of Mr. Jordan and
           representation of Mr. Jones, you were denied effective assistance of counsel by Mr.
           Leemon?

     19.   Is there anything that I have said that you wish to have explained further?
